Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 1 of 44

SPECIFIC-PURPOSE COMMITTEE Form SPAC
CAMPAIGN FINANCE REPORT COVER SHEET PG 1
—= _ Filer ID
The SPAC Instruction Guide expiains how to complete this form. a . — Bees est:
3 COMMITTEE NAME OFFICE USE ONLY
fe 5 i S Date Received
UrtLImes ty Keep Pr scdene rrehy 15 JUL15 uta:
4 COMMITTEE ADDRESS /POBOX; APT/SUITE®, CITY. STATE. ZIP CODE CITY SECRETARY
nee 4808 Fairmont Pkwy Date Hand-celvered oF Date Pasinarked
oO aoelae PMB 193
Pasadena, TX 77505. Receipt # Amount
Date Processed
Date Imaged
5 CAMPAIGN MS/MRS/MR FIRST Ml
TREASURER
NAME Ve eee Ney ax
NICKNAME LAST SUFFIX
6 CAMPAIGN STREET ADDRESS (NO PO BOX PLEASE); APT / SUITE #: city: STATE, ZIP CODE
TREASURER
STREET C3 .
ADDRESS L{| x] ik Lest fwy Ste 6S Hov 4. | x Ver)
(Residence or Business)
7 CAMPAIGN STREET OR PO BOx: APT / SUITE #: city: STATE; ZIP CODE
TREASURER
MAILING
ADDRESS s awe
[J oharge of address
8 CAMPAIGN AREA CODE PHONE NUMBER EXTENSION
TREASURER
PHONE
9 REPORT
TYPE Fy January 15 CJ 30th day befare election CT Exceeded $500 Limit
[J Bth day before election Cj Dissolution {Attach PAC-DR)
[x] July 15
Runoff 10th day after campaign treasure
O O termination ure
10 PERIOD Month Day Year Month Day Year
COVERED 04/30/2015 THROUGH 06/30/2015
11 ELECTION ELECTION DATE ELECTION TYPE
Month = Day Year C] Primary [j Runoff T] Other
05/09/2015 i] Senora O Specie
GO TO PAGE 2
Forms provided by Texas Ethics Commission WY. etnics, state, ixX.US Version Vi.0.28

PASADENA010474
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 2 of 44

SPECIFIC-PURPOSE COMMITTEE REPORT: FoRM SPAC
PURPOSE AND TOTALS COVER SHEET PG 2
12 COMMITTEE NAME ~ ~ 13 Filer 1D
14 COMMITTEE CANDIDATE / OFFICEHOLDER NAME
PURPOSE Steve Cote
{Attach lists on plain /
paper to complete this Candidate
report if necessary.) [[] Officeholder OFFICE SOUGHT (candidate) / OFFICE HELD (otficeholden)
Pasadena City Council at large
[x] SUPPORT
(Candidate or Measure) BALLOT IDENTIFICATION / # ELECTION DATE
Month Day Year
[_] oprose
{Candidate or Measure}
Measure
[J assist CO DESCRIPTION
(Officeholder)
15 CONTRIBUTION 1, TOTAL POLITICAL CONTRIBUTIONS OF $50 OR LESS (OTHER THAN PLEDGES,
TOTALS LOANS, OR GUARANTEES OF LOANS), UNLESS ITEMIZED $ $0.00
2. TOTAL POLMICAL CONTRIBUTIONS
{OTHER THAN PLEDGES, LOANS, OR GUARANTEES OF LOANS} $s $8,300.00
EXPENDITURE 3. TOTAL POLITICAL EXPENDITURES OF $100 OR LESS, UNLESS ITEMIZED
TOTALS $ $0.00
4. TOTAL POLITICAL EXPENDITURES
$ $18,650.56
CONTRIBUTION 5. TOTAL POLITICAL CONTRIBUTIONS MAINTAINED AS OF THE LAST DAY OF THE
BALANCE REPORTING PERIOD . $ $1,710.62
OUTSTANDING 6. TOTAL PRINCIPAL AMOUNT OF ALL OUTSTANDING LOANS AS OF THE LAST
LOAN TOTALS DAY OF THE REPORTING PERIOD $ $0.00
16 AFFIDAVIT

4 ‘ | swear, of affirm, under penalty of perjury, that the accompanying report is true
ee and correct and includes all information required to be reported by me under
et. ottncled aro Tile 15,

ction Code.

Signatdre of Campaign Treasurer

AFFIX NOTARY STAMP / SEAL ABOVE

Sworn to and subscribed before me, by the said . this the day
of 20 , t6 Certify which, witness my hand and seal of office.
Signature of officer administering oath Printed name of officer administering oath Title of officer administering oath
rms provi exas Ethics Commission WWW. ethics. state. DUS Version VI.0.20200

PASADENA010475
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 3 of 44

PURPOSE

SPECIFIC-PURPOSE COMMITTEE REPORT:

Page 3 of 9

FoRM SPAC
ADDENDUM

12 COMMITTEE NAME

Filer ID

=

14 COMMITTEE
PURPOSE

(Attach lists on plain
paper to complete this

CANDIDATE

CANDIDATE / OFFICE HOLDER NAME
Darrell Morrison

report if necessary.)
T7 OFFICE HOLDER

[x] supPoRT
{Candidate or Measure)

OFFICE SOUGHT (candidate) / OFFICE HELD (officeholder}

Pasadena City Council at large

OPPOSE

(Candidate or Measure) TD MEASURE

BALLOT IDENTIFICATION

ELECTION DATE
MONTH DAY YEAR

ASSIST
(Cfficeholders only)

(Attach lists on plain
Paper to complete this

CANDIDATE

DESCRIPTION

COMMITTEE CANDIDATE / OFFICE HOLDER NAME
PURPOSE

Bruce Leamon

report if necessary.)

SUPPORT

(Candidate or Measure)

CT] OFFICE HOLDER

OFFICE SOUGHT (candidate) / OFFICE HELD (officeholder)

Pasadena City Council Dist B

OPPOSE

(Candidate or Measure) [_] Measure

BALLOT IDENTIFICATION

ELECTION DATE
MONTH DAY YEAR

CJ ASSIST
{Officeholders only)

a
COMMITTEE
PURPOSE

(Attach lists on plain
paper to complete this

CANDIDATE

DESCRIPTION

CANDIDATE / OFFICE HOLDER NAME
Emilio Carmona

report if necessary.)
oO OFFICE HOLDER

[x] SUPPORT
(Candidate or Measure)

OFFICE SOUGHT {candidate} / OFFICE HELD (officeholder)

Pasadena City Council Dist A

OPPOSE

(Candidate or Measure} CI MEASURE

BALLOT IDENTIFICATION

ELECTION DATE
MONTH DAY YEAR

[_] Assist
(Offtceholders onty)

DESCRIPTION

Forms provided by Texas Ethics Commission

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Version V1.0.caen2

PASADENA010476
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 4 of 44

SPECIFIC-PURPOSE COMMITTEE REPORT:

PURPOSE

Page 4 of 9

12 COMMITTEE NAME

13 Filer ID

FoRM SPAC
ADDENDUM

14 COMMITTEE
PURPOSE

(Attach lists on plain
paper to complete this
report if necessary.)

SUPPORT

(Candidate or Measure)

OPPOSE
{Candidate or Measure}

CJ ASSIST
(Officeholders only)

CANDIDATE

CJ OFFICE HOLDER

CANDIDATE / OFFICE HOLDER NAME
J.E. "Bear" Hebert

OFFICE SOUGHT (candidate) / OFFICE HELD (officeholder)
Pasadena City Council Dist D

COMMITTEE
PURPOSE

(Attach lists on plain
paper to complete this
report if necessary.)

[x] SUPPORT
(Candidate or Measure)

OPPOSE
{Candidate or Measure)

[_] Assist
(Officeholders only)

BALLOT IDENTIFICATION

ELECTION DATE
MONTH DAY YEAR

CT] MEASURE
DESCRIPTION
CANDIDATE / OFFICE HOLDER NAME
Cary Bass

CANDIDATE

7 OFFICE HOLDER

OFFICE SOUGHT (candidate) / OFFICE HELD (officeholder)
Pasadena City Council Dist E

TC MEASURE

BALLOT IDENTIFICATION

ELECTION DATE
MONTH DAY YEAR

DESCRIPTION

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Version V1.0.2828

PASADENA010477
Case 4:14-cv-03241

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SUBTOTALS - SPAC FORM SPAC
COVER SHEET PG 3
5 of 9
17 COMMITTEE NAME 18 Filer ID
19 SCHEDULE SUBTOTALS
NAME OF SCHEDULE SUBTOTAL AMOUNT
1. SCHEDULE Al: MONETARY POLITICAL CONTRIBUTIONS $ 8,300.00
2. [[] SCHEDULE A2: NON-MONETARY (IN-KIND) POLITICAL CONTRIBUTIONS $
3. T SCHEDULE B: PLEDGED CONTRIBUTIONS $
SCHEDULE C1: MONETARY CONTRIBUTIONS FROM CORPORATION OR LABOR
- LI orcanization $
5 SCHEDULE C2: NON-MONETARY (IN-KIND) CONTRIBUTIONS FROM CORPORATION OR
- LI taBor ORGANIZATION $
6 [[] SCHEDULE D: PLEDGED CONTRIBUTIONS FROM CORPORATION OR LABOR ORGANIZATION |¢
7. [[] SCHEDULE E: LOANS $
8. SCHEDULE F1: POLITICAL EXPENDITURES FROM POLITICAL CONTRIBUTIONS $ 18,650.56
9. CT SCHEDULE F2: UNPAID INCURRED OBLIGATIONS $
10. [[] SCHEDULE F3: PURCHASE OF INVESTMENTS FROM POLITICAL CONTRIBUTIONS $
41 [[] SCHEDULE H: PAYMENT FROM POLITICAL CONTRIBUTIONS TO A BUSINESS OF C/OH $
12. SCHEDULE |: NON-POLITICAL EXPENDITURES FROM POLITICAL CONTRIBUTIONS $ 540.00
“3 SCHEDULE K: INTEREST, CREDITS, GAINS, REFUNDS, AND CONTRIBUTIONS RETURNED
‘(1 torner $
orms provided by Texas Ethics Commission WWW.emnics. stale. Dc.US Version VI.0.20202

PASADENA010478
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 6 of 44

MONETARY POLITICAL CONTRIBUTIONS

The Instruction Guide explains how to complete this form.

SCHEDULE Al

1 Total pages Schedule Al:
Sch: 1/1 Rpt: 6/9

2 FILER NAME

3 Filer ID

4 Date
05/11/2015

§ Full name of contributor oO out-of-state PAC (ID#.

Johnny Isbell Campaign Account

6 Contributor address; City; State; Zip Code
PO Box 177

Pasadena, TX 77501

7 Amount of Contribution ($)
$8,300.00

Principal occupation / Job tite (See Instructions)

§ Employer (See Instructions)

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Version V1.0.282782

PASADENA010479
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 7 of 44

POLITICAL EXPENDITURES FROM POLITICAL
CONTRIBUTIONS

SCHEDULE F1

EXPENDITURE CATEGORIES FOR BOX &{a)

Loan Ri

Advertising Expense

Event Expense pay
Accounting/Banking Fees Office Overhead/Rental Expense
Consulting Expense Food/Beverage Expense Polling Expense
Contributions/ Donations Made By - GifvAwards/Memorials Expense Printing Expense
Candidate/Officeholder/Political Committes Legal Services Salaries/Wages'Contract Labor

The Instruction Guide explains how to complete this form,

Transportation Equipment & Related Exp
Travel in District

Travel Out of District

OTHER (enter a category not listed above}

1 Total pages Schedule F1:

2 FILER NAME

3 Filer ID

Sch: Li2 Rpt: 7/9

4 Date
04/30/2015

5 Payee name
First Tradition

7 Payee address; City;
8000 Research Forest
Suite 115 PMB 251
The Woodlands, TX 77382

& Amount ($)
$1,700.00

State; Zip Code

8 PURPOSE (a) Category (see Categories listed at the top of this schedule)

{b) Description

OF 55 .
Advertising Expense [L] Check # travel outsiie of Texas. Complete Schedule T,
EXPENDITURE Oo Check if Austin, TX, officehotder living expense
GOTV phone calls
9 Complete ONLY if direct Candidate/Officeholder name Office sought Office held
expenditure to benefit C/OH
eee
Date Payee name
05/13/2015 Neumann & Co,
Amount {$} Payee address; City; State; Zip Code
$5,221.31 1002 Pauline Ave
Bellaire, TX 77401
{8} Category (See Categories listed at the top of this scheduley | (8) Description
EXBeNEnUE Advertising Expense oO Check if travel outside of Texas. Complete Schedule T.

CJ Check if Austin, TX, officeholder living expense
direct mail endorsing all 6 candidates; see list above

Complete ONLY if direct Candidate/Officeholder name

expenditure to benefit C/OH

Office sought

a—S—S=—=—sssaoa_—_——_——_—SSS|S|—_________S SSS

Office held

expenditure to benefit C/OH

Date Payee name

05/13/2015 Neumann & Co.

Amount ($) Payee address; City; State; Zip Code

$5,732.33 1002 Pauline Ave
Bellaire, TX 77401
PURPOSE (a) Category (see Categories listed at the top of this scheduley  |(9} Description
EXPENDITURE Contributions/Donations Made By [L] check it travel outside af Texas, Complete Schedule T.
Candidate/Officeholder/Political Committee [_] check it Austin, TX, officehoider tiving expense
In kind-direct mail advertisement re Carmona
Complete ONLY if direct Candidate/Officeholder name Office sought Office held

Forms provided by Texas Etnics Commission

www.ethics.state.b.us

Version Vi.0.20002

PASADENA010480
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 8 of 44

POLITICAL EXPENDITURES FROM POLITICAL SCHEDULE F1

CONTRIBUTIONS
EXPENDITURE CATEGORIES FOR BOX &(a)
Advertising Expense Event Expense Loan Repayment/Reimbursement Solicitation/Fundraising Expense
Accounting/Banking Fees Office Overhead/Rental Expense Transportation Equipment & Related Expense
Consulting Expense Food/Beverage Expense Polling Expense Travel in District
Contibutions/ Donations Made By - GifvAwards/Memorials Expense Printing Expense Travet Out of District
Candidate/OfficeholderPolitical Committee Legal Services Salaries/Wages/Contract Labor OTHER (enter a category not listed above}
The Instruction Guide explains how to complete this form,
1 Total pages Schedule Fl: {2 FILER NAME 3 Filer ID
Sch: 2/2 Rpt: 8/9
4 Date 5 Payee name
05/13/2015 Neumann & Co.
6 Arnount ($) 7 Payee address; City; State; Zip Code

$5,996.92 1002 Pauline Ave

Bellaire, TX 77401

8 PURPOSE (a) Category (see Categories listed at the top of this schedutey | {Bb} Description
EXPENDITURE Contributions/Donations Made By [[_] Check it travel outside of Texas. Complete Schedule T.
Candidate/Otficeholder/Political Committee [LJ check it Austin, Tx, atficeholder Iiving expense

In kind-direct mail advertisement re Hebert

Complete ONLY if direct Candidate/Officeholder name Office sought Office held
expenditure to benefit C/OH

‘orms provided by Texas Ethics Commission WWW. clinics. state.0c US Version V1.0.20202

PASADENA010481
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 9 of 44

NON-POLITICAL EXPENDITURES
MADE FROM POLITICAL CONTRIBUTIONS

The instruction Guide explains how to complete this form.

SCHEDULE |

1 Total pages Schedule I:
Sch: 1/1 Rpt: 9/9

2 FILER NAME

3 Filer ID

4 Date

§ Payee name

04/30/2015 Independent Bank
6 Amount ($) 7 Payee Address; City; State; Zip
20.00 3090 Craig Dr.
McKinney, TX 75070
8 PURPOSE {a} Category (See instructions for of accep )|(b) Description —_ (See instructions reganding type of information required.)
OF Accounting/Banking wire fee
EXPENDITURE
SSS — —SSSSS=—_ a —————
Date Payee name
04/30/2015 Independent Bank
Amount ($) Payee Address; City; State; Zip
20.00 3090 Craig Dr.
McKinney, TX 75070
PURPOSE {a} Category (See i for of accep ies) /(b) Description —_ (See instructions regarding type of inf 1 required.)
OF Accounting/Banking bank fee
EXPENDITURE
Date Payee name
04/30/2015 Najvar Law Firm
Amount ($) Payee Address; City; State; Zip
500.00 4151 Southwest Fwy
Ste 625
Houston, TX 77027
PURPOSE (a) Category (See | Hons for of accaptahl es}1{b) Description _{(See instructions regarding type of information required.)
OF Legal Services compliance
EXPENDITURE

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Version V1.0,cn082

PASADENA010482
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 10 of 44

Verification by declaration pursuant to Tex. Civ. Prac. & Rem. Code § 132.001

My name is Jerad Najvar, my date of birth is October 6, 1980, my address is 4151 Southwest
Freeway, Ste. 625, Houston, TX 77027. I declare under penalty of perjury that the accompanying
campaign finance report/amended campaign treasurer appointment form is true and correct.
Specifically, and in addition, I affirm the statement at line 16 on page 2.

Executed in Harris County, Texas, on July 15, 2015.

DECLARANT g

PASADENA010483
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 11 of 44

Texas Ethics Commission P.O, Box 12070 Austin, Texas 78711-2070 (512) 463-5860 (TOD 1-800-735-2989)
AMENDMENT: APPOINTMENT OF ACAMPAIGN FORM ASTA
TREASURER BY A SPECIFIC-PURPOSE COMMITTEE PG 1

Total filed:
See ASTA Instruction Gulde for detailed instructions. area OFFICE USE ONLY

2 COMMITTEE NAME 3 ACCOUNT# Dale Received me

2
CITIZENS TO KEEP PASADENA STRONG = =
4 COMMITTEE pneu | =
NAME oo
5 COMMITTEE L NEw | ADDRESS /POBOX, = APT / SUITE #, Cry; STATE; ZIP CODE Date Hand-delivered ar Peaparter
ADDRESS a =
I
Data Processed os
Oo
6 CAMPAIGN NEW | MS/MRS/MR FIRST Mi “Dateimaged
TREASURER
NAME
750 en Se BS See oS oa ho Soe HI
y CAMPAIGN NEW | STREETADDRESS (NOPO BOX PLEASE) APT/SUITE# CITY: STATE; ZIP CODE
TREASURER
STREET
ADDRESS
(residence or business)
8 CAMPAIGN NEW | ADDRESS / PO BOX: APT / SUITE #; CITY; STATE: ZIP CODE
TREASURER
MAILING
ADDRESS
oO same as above
9 CAMPAIGN NEW | AREA CODE PHONE NUMBER EXTENSION
TREASURER
PHONE ( )
10 PERSON FIRST MI LAST SUFFIX
APPOINTING
TREASURER
11 SIGNATURE | understand that I have been appointed as the campaign treasurer for this specific-purpose
committee and that | am responsible for filing all required reports and that | may be subject to
fines for failure to do so. | am aware of the restrictions in title 15 of the Election Code on
contributions from corporations and labor organizations.
Signature of Campaign Treasurer
12 ASSISTANT NEW | FIRST MI LAST SUFFIX
CAMPAIGN
TREASURER
(see instructions)
13 ASSISTANT NEW | ADDRESS / PO BOX; APT / SUITE #; CITy; STATE; ZIP CODE
CAMPAIGN
TREASURER
ADDRESS
14 ASSISTANT NEW AREA CODE PHONE NUMBER EXTENSION
CAMPAIGN
TREASURER ( )
PHONE

wn. ethics.state.tx.us

GOTO PAGE 2

Revised 09/01/2006

PASADENA010485
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 12 of 44

Texas Ethics Commission P.O. Box 12070 Austin, Texas 78711-2070 (512)463-5800 __ (TDD 1-800-735-2989)
AMENDMENT: SPECIFIC-PURPOSE COMMITTEE FORM ASTA
PURPOSE AND MODIFIED REPORTING DECLARATION PG 2

15 COMMITTEE NAME 16 ACCOUNT#

CITIZENS TO KEEP PASADENA STRONG

17 COMMITTEE
PURPOSE

(_hew lapo | Steve Cote; Darrell Morrison; Bruce Leamon

CANDIDATE / OFFICEHOLDER NAME

[¥_]suprorr CANDIDATE

[__Jorpose CANDIDATE

OFFICE SOUGHT (candidate) / OFFICE HELD (officeholder)

Pasadena City Council at large; same; and Pasadena City Council Dist B, respectively
[__Jasaist OFFICEHOLDER

BALLOT IDENTIFICATION OF MEASURE / #

ELECTION DATE

[|New [Jaco

[[_]surrort measure

[oppose measure

r

Month Day Yea

DESCRIPTION

18 MODIFIED
REPORTING
DECLARATION

COMPLETE THIS SECTION ONLY IF YOU ARE CHOOSING
MODIFIED REPORTING.

This declaration must be filed no later than the 30th day
before the first election to which the declaration applies. =

«The modified reporting declaration is valid for one election cycle only. +
(An election cycle includes a primary election, a general election, and any related tunoffs.}

The committee does not intend to accept more than $500 in political
contributions or make more than $500 in political expenditures (exclud-
ing filing fees) in connection with any future election within the election
cycle. The committee understands that if either one of those limits is
exceeded, the committee's campaign treasurer will be required to file
pre-election reports and, if necessary, a runoff report.

= Year of election(s) or election cycle to

Signature of Campaign Treasurer
which declaration applies

This appointment is effective on the date it is filed with the appropriate filing authority.

ATTACH ADDITIONAL COPIES OF THIS FORM AS NEEDED

www.ethics.state.tx.us

Revised 09/01/2006

PASADENA010486
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 13 of 44

Verification by declaration pursuant to Tex. Civ. Prac. & Rem. Code § 132.001

My name is Jerad Najvar, my date of birth is October 6, 1980, my address is 4151 Southwest
Freeway, Ste. 625, Houston, TX 77027. I declare under penalty of perjury that the accompanying
campaign finance report/amended campaign treasurer appointment form is true and correct.
Specifically, and in addition, I affirm the statement at line 11 on page 1 of Form ASTA.

Executed in Hidalgo County, Texas, on May 7, 2015.

DECLARANT G

PASADENA010487
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 14 of 44

Texas Ethics Commission

P.O.Box 12076 Austin, Texas 78711-2070

(512}463-5800

TOD 1-800-735-2989

SPECIFIC-PURPOSE COMMITTEE
CAMPAIGN FINANCE REPORT

Form SPAC
COVER SHEET PG 1

4 ACCOUNT #

The SPAC INSTRUCTION GuIDE explains how to (Ethics Commission filers} | Feasts
complete this form. 00114111 1of8
3 COMMITTEE NAME OFFICE USE ONLY
Citizens to Keep Pasadena Strong ; re
Dete* ceived =
=
4 COMMITTEE ADDRESS /PC BOX, = APT/ SUITE cry; STATE: IP CODE = *
ADDRESS i ca
~~ oy
4808 Fairmont P oy
[] change of Address PMS 193 kwy Date Hand-delivered or sks Postmalked
Pasadena, TX 77505 >
—
os
5 CAMPAIGN MS /MRS/MR FIRST M Receipt # Amount
TREASURER Jerad
NAME Date Processed
NICKNAME LAST ° " SUFFIX
Najvar Date imaged
6 CAMPAIGN STREET ADDRESS (NO PO BOX PLEASE), APTISUITE a CITY; STATE; ZIP CODE
TREASURER'S
STREET ADDRESS | 4151 Southwest Fwy
(Residence or business} Suite 625
Houston, TX 77027
7 CAMPAIGN STREET OR PO BOX; APT / SUITE #: CITY: STATE; ZIP CODE
TREASURER'S
MAILING ADDRESS | 4151 Southwest Fwy
Suite 625
[[] Shange of Address | Houston, TX 77027
8 CAM PAIGN AREA CODE PHONE NUMBER EXTENSION
TREASURER
PHONE (281) 404-4696
9 REPORT TYPE [7] January 15 [__] 30th day before election [_] Exceeded $500 limit
[_] suty 15 8th day before election [__] Dissolution (attach PAC-DR)
Runoff 10th day aft ai
Fine L) joth ay ater campei
10 PERIOD COVERED Month Day Year Monith Day Year
03/31/2015 THROUGH 04/29/2015
| 14 ELECTION ELECTION DATE ELECTION TYPE
Month Day Year
05/09/2015 [J] Primary [_] Runort [LX] General [_] Special
GO TO PAGE 2
Electronic Fiting Version 3.4.6

PASADENA010490
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 15 of 44

Texas Ethics Commission

P.O. Box 12070 Austin, Texas 78711-2070

(512}463-5800 TOD 1-800-735-2839

SPECIFIC-PURPOSE COMMITTEE REPORT:

Form SPAC

See ottacled decla return

Swom to and subscribed before ma, by the said
of ,20

PURPOSE & TOTALS Cover SHEET PG 2
12 COMMITTEE Citizens to Keep Pasadena Strong ACCOUNT # (Ethics Commigaion filers)
NAME 00111111
PURPOSE Emilio Carmona
(Attach lists on plain
paper to completa this oy OFFICE SOUGHT (candidate) / OFFICE HELD {officehoider)
OFFICEHOLDER
report if necessary.) Pasadena City Council Dist A
J supPorr BALLOT IDENTIFICATION /# ELECTION DATE
(Candidate or Measure) Month Day Year
CDloppose
(Candidate or Measure)
DESCRIPTION
Dassist (L] measure
{Officeholder only)
44 CONTRIBUTION TOTAL POLITICAL CONTRIBUTIONS OF $50 OR LESS (OTHER THAN
TOTALS PLEDGES, LOANS, OR GUARANTEES OF LOANS), UNLESS ITEMIZED $ 0.00
TOTAL POLITICAL CONTRIBUTIONS
{OTHER THAN PLEDGES, LOANS, OR GUARANTEES OF LOANS) $ 31,250.00
"* "EXPENDITURE | TOTAL POLITICAL EXPENDITURES OF $100 OR LESS, UNLESS ITEMIZED
TOTALS $ 0.00
TOTAL POLITICAL EXPENDITURES $ 31,068.65
CONTRIBUTION TOTAL POLITICAL CONTRIBUTIONS MAINTAINED AS OF THE LAST DAY
BALANCE OF THE REPORTING PERIOD $ 12,351.18
"” “QUTSTANDING TOTAL PRINCIPAL AMOUNT OF ALL OUTSTANDING LOANS AS OF THE
LOAN TOTALS LAST DAY OF THE REPORTING PERIOD $ 0.00
— — — =— ——— a
15 AFFIDAVIT

| swear, or affirm, under penatty of perjury, that the accompanying report
is true and correct and includes all information required to be reported by
me under Title 15, Election Coda.

AFFIX NOTARY STAMP / SEAL ABOVE

, this the day

_ to certify which, witness my hand and seal of office.

Signature of officer administering oath Print name of officer administering oath

PASADENA010491
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 16 of 44

Texas Ethics Commission P.O. Box 12070 Austin, Texas 78711-2070 (512) 463-5800 TDD 1-800-735-2989
SPECIFIC-PURPOSE COMMITTEE REPORT: Form SPAC
PURPOSE ADDENDUM
Page 3 of 8
COMMITTEE .)...,. ACCOUNT #
NAME Citizens to Keep Pasadena Strong (Ethics Commission filers)
00111111
BERS LIEe Sanne CANDIDATE / OFFICE HOLDER NAME
(Attach lists on plain J.E. Bear Hebert
paper to compiete this
Feport if necessary.)
O OFFICE HOLDER OFFICE SOUGHT (candidata) { OFFICE HELD (officeholder}
SUPPORT Pasadena City Council Dist D
(Candidate or Measure}
BALLOT IDENTIFI ELECTION DATE
O (CoviacnerMeesure) |] MEASURE io Se Month Day Year
[_] assist
(Officeholder only) DESCRIPTION
Sao CANDIDATE CANDIDATE / OFFICE HOLDER NAME
(Attach lists on piain Cary Bass
paper to complete this
report if necessary.)
oO OFFICEHOLDER | OFFICE SOUGHT (candidate) / OFFICE HELD (officeholder)
SUPPORT Pasadena City Council Dist E
(Candidate or Measure)
BALLOT IDENTIFICATION / # ELECTION DATE
O lee measure) | L_] MEASURE Month Day Year
["] assist
(Officeholder only) DESCRIPTION

PASADENA010492
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 17 of 44

Texas Ethics Commission P.O.Box 12070 Austin, Texas 78711-2070 (512)463-5800 TOD 1-800-735-2989
POLITICAL CONTRIBUTIONS SCHEDULE A
OTHER THAN PLEDGES OR LOANS
The INstRUCTION GuiDe explains how to complete this form. 1 PAGE #

Schedule: 1/2 Report: 4/8
2 FILERNAME Citizens to Keep Pasadena Strong 3 ACCOUNT# (Ethics Commission filers)
00111111
4 Date 5 Full name of contributor [1 out-of-state PAC (ID# ) 7 Amountof | 8 In-kind contribution
French, Robin contribution ($) description (if applicable}
bea ee a a ee ee a A a RS ce ey eS REE Ow a Ba ESE Care BES |
04/29/2015 | 6 Contributor address; City; State; Zip Code $25.00

3203 Canada Rd.
La Porte, TX 77571 |

(If travel outside of Texas, complete Schedule T) oO

9 Principal occupation / Job title (See Instructions} 10 Employer (See Instructions)
Date Full name of contributor (1 out-of-state PAC {ID# ) Amountof = | In-kind contribution
Gaffigan, Heather contribution ($) description (if applicable)
PRs Sefte 5S mofo ees PSA OOS FSP a RPE PIG GO ST A |
04/29/2015 Contributor address; City; State; Zip Code $50.00
2133 Longwood

Deer Park, TX 77536 |

(If travel outside of Texas, complete Schedule T} oO

Principal occupation / Job title (See Instructions} | Employer (See Instructions)

Date Fullname of contributor [1 out-of-state PAC (ID# ) Amount of — | In-kind contribution
Hyle, Jay contribution ($) description (if applicable)
hee eee Sarna aes emer ns eee hee LOR ae eR |
04/29/2015 Contributor address; City; State; Zip Coda $25.00
10519 Sagerery
Houston, 77089 |

(If travel outside of Texas, complete Schedule T) oO

Principal occupation / Job title (See Instructions) | Employer (See Instructions)
— SS

Date Full name of contributor (1 out-of-state PAC (ID# ) Amount of | In-kind contribution
Johnny isbell Campaign Account contribution ($) | description (if applicable)
1 ee ee Ce Re SE ST Oe’ EE Oe’ Rw S |
04/24/2015 Contributor address; City; State; Zip Code $31,000.00 |
PO Box 177

Pasadena, TX 77501 |

(If travel outside of Texas, complete Schedule T) oO

Principal occupation / Job title (See Instructions) Employer (See Instructions)
Date Full name of contributor [€] out-of-state PAC (ID# ) Amount of — | In-kind contribution
Lanney, John contribution ($) description (if applicable)
SSG EWG Ene me ee ee ee a ae a eG Wy ee ee ee |
04/29/2015 Contributor address; City; State; Zip Code $50.00

4801 Country Club View
Baytown, TX 77521 |

(if travel outside of Texas, complete Schedule T) Oo
Principal occupation / Job title (See Instructions) Employer (See instructions}

PASADENA010493
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 18 of 44

Texas Ethics Commission P.O.Box 12070 Austin, Texas 78711-2070 (512)463-5800 TDD 1-800-735-2989
POLITICAL CONTRIBUTIONS SCHEDULE A
OTHER THAN PLEDGES OR LOANS
The InsTRUCTION GulDe explains how to complete this form. 1 PAGE #

Schedule: 2/2 Report: 5/8
2 FILERNAME Citizens to Keep Pasadena Strong 3 ACCOUNT# (Ethics Commission filers)
00111141
4 Date 5 Fullname of contributor (1 out-of-state PAC (ID# ) 7 Amountof | 8 In-kind contribution
Maldonado, Sonya contribution ($) description (if applicable)
04/29/2015 6 ‘Conteauter sacince City; , State: “Zip Code _ $50.00 |
2401 Repo Rs
Seabrook, TX 77586 |

(If travel outside of Texas, complete Schedule T} oO

§ Principal occupation / Job title (See Instructions) 10 Employer (See Instructions)
Date Full name of contributor [ out-of-state PAC (ID# ) Amount of — | In-kind contribution
McKie, Ray contribution ($) description (if applicable)
SPE {SHIN HAS SUTIN TEST PRER ERE REA EISEN RMN ER TEFEN TA |
04/29/2015 Contributor address; City; State; Zip Code $50.00
2803 Belton

Anahuac, TX 77614 |

{If travel outside of Texas, complete Schedule T) oO

Principal occupation / Job title (See Instructions) Employer (See Instructions)

PASADENA010494
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 19 of 44

Texas Ethics Commission

P.O.Box 12070

Austin, Texas 78711-2070

(512)463-5800 TOD 1-800-735-2989

POLITICAL EXPENDITURES

EXPENDITURE CATEGORIES

SCHEDULE F

Schedule: 1/2 Report: 6/8

Advertising Expense Gifts/Awards/Memorial Expense So nteeea oe Er Labor Loan Repayment/Reimbursement
Accounting/Banking Legal Services Solicitation/F undraising Expense Transportation Equipment & Related Expense
Consulting Expense Food/Beverage Expense Travel In District Contributions/Donations Made By
Event Expense Polling Expense Travel Out Of District Candidate/Officeholder/Political Committee
Fees Printing Expense Office Overhead/Rental Expense OTHER (enter a category not listed above)
The Instruction Guice explains how to complete this form.
1 PAGE # 2 FILER NAME 3 ACCOUNT # (TEC filers)

Citizens to Keep Pasadena Strong

00111111

4 Date 5 Payee name
04/06/2015 First Tradition
6 Amount ($) 7 Payee address City; State; Zip Code
000.00} 8000 Research Forest
$4 Suite 115 PMB 251
The Woodlands, TX 77382
(a) Category (See Categories listed at the top of this schedule) (Bb) Description —_{If travel outside of Texas, complete Schedule T) DI!
PURE PSE Advertising Expense Phone calls supporting all three candidates in equal
EXPENDITURE panies
C) Check It Austin, TX, officeholder living expense
§ Complete ONLY if Candidate / Officeholder name Office sought: Office held:
direct expenditure
to benefit C/OH
Date Payee narne |
04/27/2015 First Tradition
Amount ($) Payee address City; State; Zip Code
4,.000.00| 8000 Research Forest
$ Suite 115 PMB 251
The Woodlands, TX 77382
Category (See Categories listed at the top of this schedule) Description (If tavel outside of Texas, complete Schedule TO
PURSE Advertising Expense Phone calls supporting all three candidates in equal
EXPENDITURE pemlions

O Check if Austin, TX, officeholder living expense

Complete ONLY if Candidate / Officeholder name Office sought: Office held:
direct expenditure
to benefit C/OH
Date Payee name
04/22/2015 Mailboxes Plus
Amount ($) Payee address City; State; Zip Code
$36.00] 4808 Fairmont P
Pasadena, TX 77505
Category (See Categories listed at the top of this schedule) Description _ (If travel outside of Texas, complete Schedule T) [[]
PURFOBE Fees Committee mailbox rental
EXPENDITURE
C] Check if Austin, TX, officeholder living expense
Complete ONLY if Candidate / Officeholder name Office sought: Office held:
direct expenditure
to benefit C/OH
Date Payee name
03/31/2015 Neumann & Company
Amount ($) Payee address City; State; Zip Code
$1,806.85 1002 Pauline
Bellaire, TX 77401
Category (See Categories listed at the top of this schedule) Description _(If travel outside of Texas, complete Schedule T) oO
PURPOSE Contributions/Donations Made B In kind: direct mail supporting Hebert
OF Candidate/Officeholder/Political Committee
EXPENDITURE
] Check If Austin, TX, officeholder living expense
Complete ONLY if Candidate / Officeholder name Office sought: Office held:
direct expenditure

PASADENA010495
Texas Ethics Commission

Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 20 of 44

P.O,.Box 12070

Austin, Texas 78711-2070 (512)463-5800 TDD 1-800-735-2989

POLITICAL EXPENDITURES

SCHEDULE F

EXPENDITURE CATEGORIES
Gifta/Awards/Memorial Expense

Advertising Expense

salantea ages iContact Labor Loan Repayment/Reimbursement

Schedule: 2/2 Report: 7/8

Accounting/Banking Legal Services Solicitation/Fundraising Expense Transportation Equipment & Related Expense
Consulting Expense Food/Beverage Expense Travel in District Contributions/Donations Made By
Event Expense Polling Expense Travel Out Of District Candidate/Officeholder/Political Committee
Fees Printing Expense Office Overhead/Rental Expense OTHER (enter a category not listed above}
The instruction Guioe explains how to complete this form.
1 PAGE# 2 FILER NAME 3 ACCOUNT# (TEC filers)

Citizens to Keep Pasadena Strong

00111111

4 Date § Payee name

04/06/2015 Neumann & Company
6 Amount (3} 7 Payee address City: State; Zip Code

2,906.42 1002 Pauline
$ Bellaire, TX 77401
(a) Category (See Categories listed at the top of this schedule} (b) Description —_{If travel outside of Texas, complete Schedule T) Ol
ee Contributions/Donations Made B In kind: direct mail supporting Hebert
EXPENDITURE Candidate/Officeholder/Political Committee

C] Check if Austin, TX, officeholder living expense

9 Complete ONLY if Candidate / Officeholder name Office sought: Office held:
direct expenditure
to benefit C/OH
— — —
Date Payee name
04/28/2015 Neumann & Company
Amount ($) Payee address City; State; Zip Code
$3,022.40 1002 Pauline
Bellaire, TX 77401
Category (See Categories listed at the top of this schedule} Description (If travel outside of Texas, complete Schedule T} oO
PUPEOSE Contributions/Donations Made B In kind: direct mail supporting Carmona
EXPENDITURE Candidate/Officenolder/Political Committee
oO Check If Austin, TX, officeholder living expense
Complete ONLY if Candidate / Officeholder name Office sought: Office held:
direct expenditure
fo benefit C/OH
Date Payee name
04/28/2015 Neumann & Company
Amount ($) Payee address City; State; Zip Code
$3,183.87 1002 Pauline
Bellaire, TX 77401
Category (See Categories listed at the top of this schedule) Description _(/f travel outside of Texas, complete Schedule T) OC}
PUB ae Contributions/Donations Made B in kind: direct mail supporting Bass
EXPENDITURE Candidate/Officeholder/Political Committee

oO] Check If Austin, TX, officeholder living expense

Compiete ONLY if Candidate / Officeholder name Office sought: Office held:
direct expenditure
to benefit C/OH
Date Payee name
04/28/2015 Neumann & Company
Amount ($) Payee address City; State; Zip Code
$12,113.11 1002 Pauline
Bellaire, TX 77401
Category (See Categories listed at the top of this schedule) Description _(If travel outside of Texas, complete Schedule T} oO
ee Contributions/Donations Made B In-kind: direct mail supporting Hebert
EXPENDITURE Candidate/Officeholder/Political Committee
UL Check if Austin, TX, officeholder living expense
Complete ONLY if Candidate / Officeholder name Office sought: Office held:
direct expenditure

PASADENA010496
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 21 of 44
Texas Ethics Commission P.O.Box 12070 Austin, Texas 78711-2070 (512}463-5800 TDD 1-800-735-2989

NON-POLITICAL EXPENDITURES
MADE FROM POLITICAL CONTRIBUTIONS

SCHEDULE |

The Instruction Guide explains how to complete this form.

4 PAGE# 2 FILER NAME 3 ACCOUNT#? (TEC filers)
Schedule: 1/2 Report: 8/8 Citizens to Keep Pasadena Strong 00111111
4 Date § Payee name
04/06/2015 Najvar Law Firm
6 Amount ($) 7 Payee address City; State; Zip Code
1,000.00] 4151 Southwest Freeway
$ Ste 625
Houston, TX 77027
(a) Category (See Categories listed at the top of this schedule) {b) Description (See instructions regarding type of information required.)
Pun Legal Services Campaign finance compliance and reporting
EXPENDITURE
Date Payee name
04/24/2015 Najvar Law Firm
Amount ($) Payee address City; State; Zip Code
200.00] 4151 Southwest Freeway
$ Ste 625
Houston, TX 77027
Category (See Categories listed at the top of this schedule) Description (See instructions regarding type of information required.)
Pune Legal Services Campaign finance compliance and reporting
EXPENDITURE

PASADENA010497
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Verification by unsworn declaration pursuant to Tex. Civ. Prac. & Rem. Code § 132.001

My name is Jerad Najvar, my date of birth is October 6, 1980, my address is 4151 Southwest
Freeway, Ste. 625, Houston, TX 77027. I declare under penalty of perjury that the accompanying
campaign finance report is true and correct.

Executed in Harris County, Texas, on [May | _,2015.

PASADENA010498
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Texas Ethics Commission P.0.Box 12070 Austin, Texas 78711-2070 (512}463-5800 TDD 1-800-735-7989
SPECIFIC-PURPOSE COMMITTEE Form SPAC
CAMPAIGN FINANCE REPORT COVER SHEET PG 1

ACCOUNT #
The SPAC INSTRUCTION GuIDE explains how to 1 {Ethics Commission filers) 2 PAGES
complete this form. 00411114 1 of7
3 COMMITTEE NAME OFFICE USE ONLY
Citizens to Keep Pasadena Strong
Date Received Sy
mn &
4 COMMITTEE ADDRESS /POBOX; APT / SUITE #: cry: STATE; ZIP CODE = “se
ADDRESS =
ow
1
[_] change of Address | 4808 Fairmont Pkwy gg
PMB 193 Dete Hand-delivered or Date Postmartagty
Pasadena, TX 77505 a OM
= st
5 CAMPAIGN MS /MRS/MR FIRST i Receipt # Aan
TREASURER Jerad So
NAME Phe ee eee hae ee he ea eee + eo ae . Date Peocansed
HICKNAME LAST SUFFIX
Najvar Date Imaged
6 CAMPAIGN STREET ADDRESS (NOPOBOX PLEASE © APT/SUITE #; city: STATE: Wie CODE
TREASURER'S
STREET ADDRESS | 4151 Southwest Fwy
(Residence or business} Suite 625
Houston, TX 77027
7 CAMPAIGN STREET OR PO BOX: APT / SUITE #& CITY; STATE; ZIP CODE
TREASURER'S
MAILING ADDRESS | 4151 Southwest Fwy
Suite 625
[CL] Change of Address Houston, TX 77027
8 C AMP. Al GN AREA CODE PHONE NUMBER EXTENSION
TREASURER
PHONE {281} 404-4696
9 REPORT TYPE CL January 15 30th day before election Cc) Exceeded $500 limit
[] sury 15 [_] 8th day before election [_} Dissolution (attach PAC-DR)
[_] Runost [_] 10th day after campaign
__ treasurer termination
10 PERIOD COVERED Month Day Year Month Day Year
02/25/2015 THROUGH 03/30/2015
41 ELECTION ELECTION DATE ELECTION TYPE
Manth Day Year
05/09/2015 CI Primary Fr] Runoff [4 General C] Special
GO TO PAGE 2

Electronic Filing Version 3.4.6

PASADENA010500
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 24 of 44

Texas Ethics Commission

P.O. Box 12070 Austin, Texas 78711-2070 (512)}463-5800 TDD 1-800-735-2989

SPECIFIC-PURPOSE COMMITTEE REPORT:

Form SPAC

PURPOSE & TOTALS Cover SHEET PG 2
12 COMMITTEE Citizens to Keep Pasadena Strong ACCOUNT # (Etnics Commission filers)
NAME 00111111
43 COMMITTEE [XJ canoinate CANDIDATE / OFFICEHOLDER NAME
PURPOSE Emilio Carmona
{Attach lists on plain
paper to complete this q OFFICE SOUGHT ({candidata) / OFFICE HELD (officeholder)
: OFFICEHOLDER
report iT eacaesay.) Pasadena City Council Dist A
&) SUPPORT BALLOT IDENTIFICATION / # ELECTION DATE
(Candidate or Measure) Month Day Year
Cloprose
(Candidate or Measure)
oO ASSIST Oo ee DESCRIPTION
(Officeholder cnty)
14 CONTRIBUTION 4. TOTAL POLITICAL CONTRIBUTIONS OF $60 OR LESS (OTHER THAN
TOTALS PLEOGES, LOANS, OR GUARANTEES OF LOANS), UNLESS ITEMIZED
$ 0.00
2. TOTAL POLITICAL CONTRIBUTIONS
(OTHER THAN PLEDGES, LOANS, OR GUARANTEES OF LOANS) $ 35,000.00
EXPENDITURE 3. TOTAL POLITICAL EXPENDITURES OF $100 OR LESS, UNLESS ITEMIZED
TOTALS $ 0.00
4. TOTAL POLITICAL EXPENDITURES $ 21,302.56
CONE ON 5. TOTAL POLITICAL CONTRIBUTIONS MAINTAINED AS OF THE LAST DAY
OF THE REPORTING PERIOD $ 24,422.39
"OUTSTANDING 6. TOTAL PRINCIPAL AMOUNT OF ALL OUTSTANDING LOANS AS OF THE
LOAN TOTALS LAST DAY OF THE REPORTING PERIOD $ 0.00

15 AFFIDAVIT

of

See atracled declzrtwn

AFFIX NOTARY STAMP / SEAL ABOVE

Sworn to and subscribed before me, by the said
,20

1 swear, or affirm, under penalty of perjury, that the accompanying report
is true and correct and includes all infomation required to be reported by
me under Title 15, Election Code.

Cy S446

Signature of Campaign Treasurer

_ this the day

_ to certify which, witness my hand and seal of office.

Signature of officer administering oath

Print name of officer administering oath Titie of officar administering oath

Electrone Filing Version 3.4.6

PASADENA010501
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SUPPORT
(Candidate or Measure)

O

OPPOSE

C OFFICE HOLDER

Texas Ethics Commission P.O. Box 12070 Austin, Texas 78711-2070 (512) 463-5800 TOE 1-800-735-2989
SPECIFIC-PURPOSE COMMITTEE REPORT: Form SPAC
PURPOSE ADDENDUM

Page 3 of 7
NOM nAEE Citizens to Keep Pasadena Strong (Ethics Commision filers)
00111111
COMMITTEE CANDIDATE / OFFICE HOLDER NAME
PURPOSE CAADIBATE
(Attach lists on plain iJ J.E. Bear Hebert
paper to complete this
feport if necessary.)

OFFICE SQUGHT (candidate) / OFFICE HELD (officeholder)

Pasadena City Council Dist D

BALLOT IDENTIFICATION / # ELECTION DATE

(Candidate or Measure) CT MEASURE Month Day Year
[_] assist
(Officeholder only) DESCRIPTION
COMMITTEE CANDIDATE / OFFICE HOLDER NAME
PURPOSE CANDIDATE ua
{Attach lists on plain ary bass
paper to complete this
faport if necessary.)
0 OFFICE HOLDER | OFFICE SOUGHT (candidate) / OFFICE HELD (officehoider)
SUPPORT Pasadena City Council Dist E
(Candidate or Measure)
OPPOSE BALLOT IDENTIFICATION / # ELECTION DATE
UO (Candidate or Messure) OC] MEASURE Month Day Year
[[] assist
{Officeholder onty) DESCRIPTION

Electronic Filing Version 3.4.8

PASADENA010502
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Texas Ethics Commission P.O.Box 12070 Austin, Texas 78711-2070 _(512)463-5800 TDD 1-800-735-2989
POLITICAL CONTRIBUTIONS SCHEDULE A
OTHER THAN PLEDGES OR LOANS
The InstRUcTION GuiDe explains how to complete this form. 1 PAGE #

Schedule: 1/1 Report: 4/7
2 FILERNAME Citizens to Keep Pasadena Strong 3 ACCOUNT# (Ethics Commission filers)
00111111
4 Date 5 Full name of contributor oO out-of-state PAC (ID# } 7 Amountof | 8 In-kind contribution
Johnny Isbell Campaign Account contribution ($} | description (if applicable}
Lek See Re OR Pe Be SS ET Re eae eRe Rew Re we ee ee |
03/11/2015 | 6 Contributor address; City: State: Zip Code $35,000.00 |
PO Box 177
Pasadena, TX 77501 |
(if travel outside of Texas, complete Schedule T) [[]

9 Principal occupation / Job title (See Instructions) 10 Employer (See Instructions)

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PASADENA010503
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 27 of 44

Texas Ethics Commission P.O.Box 12070 Austin, Texas 78711-2070 (512}463-5600 TOD 1-800-735-2989

POLITICAL EXPENDITURES SCHEDULE F
—==}
EXPENDITURE CATEGORIES
Advertising Expense Gifts/Awards/Memorial Expense Salaries/Wages/Contract Labor Loan Repayment/Relmbursement
Accounting/Banking Legal Services Solicitation/Fundralsing Expense Transportation Equipment & Related Expense
Consulting Expense Food/Beverage Expense Travel In District Contributions/Donations Made By
Event Expense Polling Expense Travel Out Of District Candidate/Officeholder/Political Committee
Fees Printing Expense Office Overhead/Rental Expense OTHER (enter a category not listed above}
The Instruction Guipe explains how to complete this form.
1 PAGE # 2 FILER NAME 3 ACCOUNT# (TEC filers}

Schedule: 1/2 Report: 5/7

Citizens to Keep Pasadena Strong

00111111

4 Date 5 Payee name
03/23/2015 First Tradition
6 Amount ($) 7 Payee address City; State: Zip Code
3,500.00; 8000 Research Forest
$ Suite 115 PMB 251
The Woodlands, TX 77382
{a) Category (See Categories listed at the top of this schedule} (b) Description —_{if travel outside of Texas, complete Schedule T) Ol
PURPOSE Contributions/Donations Made B in kind grassroots developement and GOTV to Cary
OF Candidate/Officeholder/Political Committee Bass
EXPENDITURE
CJ Check If Austin, TX, officeholder Iving expense
9 Complete ONLY if Candidate / Officeholder name Office sought: Office held:
direct expenditure
te benefit C/OH
Date Payee name
03/23/2015 First Tradition
Amount ($) Payee address City; State; Zip Code
3,500.00| 8000 Research Forest
$ Suite 115 PMB 251
The Woodlands, TX 77382
Category (See Categories Iisted at the top of this schedule) Description —_(If travel outside of Texas, complete Schedule T) Ol
PURPOSE Contributions/Donations Made B In kind grassroots developemnt and GOTV to JE.
OF Candidate/Officeholder/Political Committee Hebert
EXPENDITURE
C Check if Austin, TX, officeholder living expense
Complete ONLY if Candidate / Officeholder name Office sought: Office held:
direct expenditure
to benefit C/OH
Date Payee name ~
03/23/2015 First Tradition
Amount ($) Payee address City; State; Zip Code
3,500.00| 8000 Research Forest
: Suite 115 PMB 251
The Woodlands, TX 77382
Category (See Categories listed at the top of this schedule) Description _(If travel outside of Texas, complete Schedule T) [[]
PURPOSE Contributions/Donations Made B' In-kind Grassroots development and GOTV to
OF Candidate/Officeholder/Political Committee Emilio Carmona
EXPENDITURE
CL) Check Hf Austin, TX, officeholder living expense
Complete ONLY if Candidate / Officeholder name Offica sought: Office held:
direct expenditure
to benefit C/OH
Date Payee name
03/20/2015 Neumann & Company
Amount ($} Payee address City; State; Zip Code
3,653.85 1002 Pauline
$ Bellaire, TX 77401
Category (See Categories listed at the top of this schedule) Description _{If travel outside of Texas, complete Schedule T} oO
PURPOSE Contributions/Donations Made By In kind campaign direct mail to Cary Bass
OF Candidate/Officeholder/Potitical Committee
EXPENDITURE
CJ Check if Austin, TX, officeholder living expense
Complete ONLY if Candidate / Officeholder name Office sought: Office held:
direct expenditure
to benefit C/OH
Electronic Filing Version 3.4.6

PASADENA010504
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Texas Ethics Commission P.O.Box 12070 Austin, Texas 78711-2070 (512}463-5800 TDD 1-800-735-2989
POLITICAL EXPENDITURES SCHEDULE F
=———)
EXPENDITURE CATEGORIES

Advertising Expense Gifts/Awards/Memorial Expense Salaries/Wages/Contract Labor Loan Repayment/Reimbursement
Accounting/Banking Legal Services Solicitation/Fundraising Expense Transportation Equipment & Related Expense
Consulting Expense Food/Beverage Expense Travel In District Contributions/Donations Made By

Event Expense Polling Expense Travel Out Of District Candidate/Officeholder/Political Committee

Fees Printing Expense Office Overhead/Rental Expense OTHER (enter a category not listed above)

The InstRucTION Guioe explains how to complete this form.
1 PAGE # 2 FILER NAME 3 ACCOUNT# (TEC filers)

Schedule: 2/2 Report: 6/7

Citizens to Keep Pasadena Strong

00111111

4 Date § Payes name

03/20/2015 Neumann & Company
6 Amount ($) 7 Payee address City; State; Zip Code

$3,611.46 1002 Pauline
Bellaire, TX 77401
(a} Category (See Categories listed at the top of this schedule) (b) Description —_(If travel outside of Texas, compiete Schedule T) Ol
eo Contributions/Donations Made B: In kind campaign direct mail to J.E. Hebert
EXPENDITURE Candidate/Officeholder/Political Committee

[] Check Hf Austin, TX, officeholder living expense

9 Complete ONLY if Candidate / Officeholder name Office sought: Office heid:
direct expenditure
to benefit OH
Date Payee name
03/20/2015 Neumann & Company
Amount ($) Payee address City; State: Zip Code
3,537.25 1002 Pauline
$ Bellaire, TX 77401
Category (See Categories listed at the top of this schedule) Description —_(|f travel outside of Texas, complete Schedule T} oO
PURPOSE Contributions/Donations Made B In kind campaign direct mail to Emilio Carmona
OF Candidate/Officeholder/Political Committee
EXPENDITURE
C Check if Austin, TX, officeholder living expense_
Complete ONLY if Candidate / Officeholder name Office sought: Offica held:
direct expenditure
to benefit C/OH
Electronic Filing Version 3.4.8

PASADENA010505
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 29 of 44

Texas Ethics Commission P.O.Box 12070 Austin, Texas 78711-2070 (512)463-5800 TDD 1-800-735-2989

NON-POLITICAL EXPENDITURES
MADE FROM POLITICAL CONTRIBUTIONS

SCHEDULE |

The Instruction Guide explains how to complete this form.

1 PAGE # 2 FILER NAME 3 ACCOUNT # (TEC filers}
Schedule: 1/2 Report: 7/7 Citizens to Keep Pasadena Strong 00111111
4 Date § Payee name
03/16/2015 Independent Bank
6 Amount (5) 7 Payee address City; State; Zip Code
$77.61 3090 Craig Dr

McKinney, TX 75070

8
PURPOSE
OF
EXPENDITURE

(a) Category (See Categories listed at the top of this schedule)
Accounting/Banking

(b) Description (See instructions regarding type of information required.)
checks

Electronic Filing Version 3.4.6

PASADENA010506
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 30 of 44

Verification by unsworn declaration pursuant to Tex. Civ. Prac. & Rem, Code § 132.001

My name is Jerad Najvar, my date of birth is October 6, 1980, my address is 4151 Southwest
Freeway, Ste. 625, Houston, TX 77027. I declare under penalty of perjury that the accompanying
campaign finance report is true and correct.

Executed in Harris County, Texas, on Apr u G , 2015,
1

Dp
T /

DEQVARAN

PASADENA010507
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 31 of 44

Texas Ethics Commission PO. Box 12070 Austin, Texas 78711-2070 (542) 463-5800 (TDD 1-800-735-2989)
SPECIFIC-PURPOSE COMMITTEE Form SPAC
CAMPAIGN FINANCE REPORT Cover SHEET PG 1

fr 1 ACCOUNT® 2 Tolal pages filed: ~~

The SPAC instruction Guide explains how to complete this form. {Etmes Commission Filers}
COMMITTEE NAME OFFICE USE ONLY
Cities to \Ceep Pade Cte aay re
_ _| Gan 15,30

4 COMMITTEE ADDRESS /POBOX, APT / SUITE # STATE, ZIP CODE

ADDRESS Lily i te
LBB fair wet Pt M3

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§ CAMPAIGN MS /MRS JME Ml = i
TREASURER Date Processed
NAME Tera do N evar

| NICKNAME — Laat , oe SsuFEK | Date Imaged |

6 CAMPAIGN STREET ADDRESS (NOPOBOXPLEASE:  aFT/SLTER STATE ZIP CODE

TREASURER'S
STREET ADDRESS| Cre. Grtonta ae Stet. ‘pb
(residence or business)

Houston 7 L 170446

YS CAMPAIGN | STREET OR PO BOX APT / SUNTE ®, ciry; STATE 2p CONE “yl
TREASURER'S
MAILING ADDRESS | Cig we e_

CJ change of address

8 CAMPAIGN _ ~ | AREA CODE PHONE NUMBER “EXTENSION = 1
TREASURER
PHONE (281) Yo -4 64

9 REPORT TYPE Bx , danuary 45 [] 20th aay before election [7] Exceaded $500 eit

CL] sys [7] er day betore atncson [] Dissolution (attach PAC-DR)
[]  Runett F_]  tonnday atter campaign treasurer termination

10 COVERED Rhone Oay Year Month Day Year

OF Yol/ (3 THROUGH IL /3L A
11 ELECTION ELECTION DATE | ELECTION TYPE
} Wionth Gay Year j
| Lo | Cc] Primary Ci Runoft [oy General CJ Speciat
GO TO PAGE 2

www ethics.state. tx.us

Revised 04/19/2013

PASADENA010513
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 32 of 44

Texas Ethics Commission P.O. Box 12070 Austin, Texas 78711-2070 (512) 463-5800 (TDD 1-800-735-2989)
SPECIFIC-PURPOSE COMMITTEE REPORT: Form SPAC
PURPOSE AND TOTALS Cover SHEET Pc 2

12 COMMITTEE NAME

Cartas to Keep Parsedenu Strom ny

ACCOUNT # (Ethics Commission Filers)

13 COMMITTEE CANDIDATE / OFFICEHOLOER NAME
PURPOSE Siac
. V
(Attach tists on plain Non E0MS UW,
paper to complete this
report if necessary ) yt CANDIDATE

SUPPORT
(Candidete or Measura)

OFFICE SOUGHT (candkiate} / OFFICE HELO (officeholder}

Pasedee Cixy Comcul Perr C

["] oFFiceno.per

OPPOSE
(Candidate or Measure}

BALLOT tDENTIFICATIGN / # ELECTION DATE
Month Day Year
ASSIST ["] measure
(Officeholder) DESCRIPTION
14 CONTRIBUTION 1. TOTAL POLITICAL CONTRIBUTIONS OF $50 OR LESS (OTHER THAN $
TOTALS PLEDGES, LOANS, OR GUARANTEES OF LOANS}, UNLESS ITEMIZED ©
2. TOTAL POLITICAL CONTRIBUTIONS $
(OTHER THAN PLEDGES, LOANS, OR GUARANTEES OF LOANS) OC
EXPENDITURE
TOTALS 3. TOTAL POLITICAL EXPENDITURES OF $100 OR LESS, UNLESS ITEMIZED $ ©
4, TOTAL POLITICAL EXPENDITURES $ ©
CONTRIBUTION 5. TOTAL POLITICAL CONTRIBUTIONS MAINTAINED AS OF THE LAST DAY $
BALANCE OF THE REPORTING PERIOD oO
OUTSTANDING 6. TOTAL PRINCIPAL AMOUNT OF ALL OUTSTANDING LOANS AS OF THE $
LOAN TOTALS LAST DAY OF THE REPORTING PERIOD O
415 AFFIDAVIT

} } swear, or affirm, under penalty of perjury, that the accompanying
rent See oracle 4 decla roby. . report is true and correct and includes all information required to be
reported by me under Title 15, Election Code.

Sle

Signature of Campaign Treasurer

AFFIX NOTARY STAMP / SEAL ABOVE

Swarn to and subscribed before me, by the said , this the
day of , 20 , to certify which, witness my hand and seal of office.
Signature of officer administering oath Printed name of officer administering oath Title of officer administering cath
www. ethics. state.tx.us Revised 04/19/2013

PASADENA010514
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 33 of 44

Texas Ethics Commission P.O. Box 12070 Austin, Texas 78711-2070

(512) 463-5800 1-800-325-8506

INTEREST EARNED, OTHER CREDITS/GAINS/
REFUNDS, AND PURCHASE OF INVESTMENTS

SCHEDULE K

The instruction Guide explains how to complete this form.

1 = Total pages Schedule K:

2 FILER NAME 3 ACCOUNT # (Ethics Commission Filers)

4 Date § Name of person from whom amount is received

alily> Bark of Howton

6 Address of person from whom ameount is received; City; State; Zip Code

Hite Bellase Blvd, Hosta TX 72029

[S.

7 Purpose for which amount is received

cetunk of bawle fee

Date Name of person from whom amaunt is received Amount
(3)
Address of parson from whom amount is received: City; State: Zip Code
Purpose for which amount is received
Date Name of person from whom amount is received —
)
Address of person from whom amaunt is received: City; State; Zip Cade
Purpose for which amount is received
Date Name ot person from whom amount is received Amount

Address of person trom wham amount is received: City: State; Zip Code

(3)

Purpose for which amount ts received

ATTAGH ADDITIONAL COPIES OF THIS SCHEDULE AS NEEDED

Revised 09/28/2011

PASADENA010515
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 34 of 44

Declaration pursuant to Tex. Civ. Prac. & Rem. Code § 132.001

My nap is Tere Me: Nae ; fee date of birth is (Oj bf 480, my address is
Ore 6 Nitya] Chica “Dy, 09 y Th 1704 }

] declare under penalty of perjury that the accompanying campaign finance report is true and
correct.

“Chand ¢ County, Texas, on January ( C , 2014.

DECVARANT i

PASADENA010516
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 35 of 44

Texas Ethics Commission P.0.Box 12070 Austin, Texas 78711-2070 (542}463-5800 TDD 1-800-735-2989
SPECIFIC-PURPOSE COMMITTEE Form SPAC
CAMPAIGN FINANCE REPORT COVER SHEET PG 1

ACCOUNT
The SPAC Instruction Guive explains how to : (Ethics nF oe filers} = lates
complete this form. | 00111111 10f3
3 > COMMITTEE NAME OFFICE USE ONLY
Citizens to Keep Pasadena Strong
Dane Received = 3
La —
4 COMMITTEE ADDRESS | PO BOX, APT / SLATE # CITY; STATE, = ZIP CoD =
ADDRESS a
[] change of Address | 4808 Fairmont Parkway 2
#105 Oale Hand-delvered or Date Postmarked
| Pasadena, TX 77505 an
hoe
5 CAMPAIGN | MS/ MRS) MR FIRST Ml Receipt # Caio
TREASURER | Jerad
NAME iE A eee Lee
|) NICKNAME LAST SuFFik
Najvar Date !maged
6 CAMPAIGN | STREET ADORESS (NO PO BOX PLEASE) APTISLATE #) crm, STATE; ZiP COOE
TREASURER'S
STREET ADDRESS | One Greenway Plaza
(Residence or business) | Suite 100
|} Houston, TX 77046
7 CAMPAIGN STREET OR PO BOX; APT / SUITE it city, STATE: ZIP Cone
TREASURER'S
MAILING ADDRESS | One Greenway Plaza
Suite 100
[[} Change of Adsrest =| Houston, TX 77046
8 CAMPAIGN AREA CODE PHONE NUMBEA: EXTENSOW
TREASURER
PHONE | (281) 404-4696
9 REPORT TYPE ! Co January 15 Cr] 3h day before election Ot Excerded $500 mit
| Eq] suv 15 [_] 8th aay before alechon [L] Osssoiution tattacn PAC-DR}
Runoff 10th day att
a CI sense ste cnoone
10 PERIOD COVERED | Monih Day Year Mort: Day Yuar
05/02/2013 THROUGH 06/30/2013
11 ELECTION ELECTION DATE ELECTION TYPE
| Month Day Year
C4 Primary Ci Runoff il General OO Special
GO TO PAGE 2

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PASADENA010519
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 36 of 44

Taxas Ethics Commission P.O. Box 12070 Austin, Texas 78711-2070 (512)463-5800 TDD 1-800-735-2985
SPECIFIC-PURPOSE COMMITTEE REPORT: FoRM SPAC
PURPOSE & TOTALS Cover SHEET PG 2
12 COMMITTEE — Citizens to Keep Pasadena Strong ACCOUNT 4 (Ethics Commission filers}

NAME 00111114
13 COMMITTEE CJ CANDIDATE CANDIDATE / OFFICEHOLDER NAME
PURPOSE
{Attach lists on plain
paper to complete this OFFICE SOUGHT (candidate) / OFFICE HELD {officaholder}
teport if necessary.) (J orricenowner
C] SUPPORT BALLOT IDENTIFICATION / # ELECTION DATE
{Candidate or Measure) Month Day Year
Cloprose
(Candidate or Maasure}
DESCRIPTION
Classist (] measure
{Officeholder only)
14 CONTRIBUTION 1 TOTAL POLITICAL CONTRIBUTIONS OF $50 OR LESS (OTHER THAN
TOTALS PLEDGES, LOANS, OR GUARANTEES OF LOANS}, UNLESS ITEMIZED $ 0.00
2. TOTAL POLITICAL CONTRIBUTIONS
(OTHER THAN PLEDGES, LOANS, OR GUARANTEES OF LOANS) $ 0.00
EXPENDITURE 3. TOTAL POLITICAL EXPENDITURES OF $100 OR LESS, UNLESS /TEMIZED
TOTALS $ 0.00
4. TOTAL POLITICAL EXPENDITURES $ 45.00
'" “GONTRIBUTION
5. TOTAL POLITICAL CONTRIBUTIONS MAINTAINED AS OF THE LAST DAY
BALANCE OF THE REPORTING PERIOD $ 0.00
"OUTSTANDING 8. TOTAL PRINCIPAL AMOUNT OF ALL OUTSTANDING LOANS AS OF THE
LOAN TOTALS LAST DAY OF THE REPORTING PERIOD $ 0.00
15 AFFIDAVIT

| swear, or affirm, under penalty of perjury, that the accompanying report
is true and correct and includes all information required to be reported by
me under Title 15, Election Code.

pte “fy

Signature ef Campaign Treasurer

AFFIX NOTARY STAMP / SEAL ABOVE

Sworn to and subscribed before me, by the said ~| Cra 3 Na a , this the is” day

. to certify which, witness my hand and seal of office.

lia Notoru Th

Print name of officer administering cath Title of officer aministering oath

ature of officer admikistering oath

Electronic Fling Version 3.4.5

PASADENA010520
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 37 of 44

Texas Ethics Commission P.0.Box 12070 Austin, Texas 78711-2070 (512}463-5800 TOD 1-800-735-2989
POLITICAL EXPENDITURES SCHEDULE F
EXPENDITURE CATEGORIES
Advertising Expense Gifts/Awards/Memorial Expense Salaries‘Wages/Contrac Labor Loan RapaymentReimbursement
Accounting/Banking Legat Services Solicitalion/Fundraising Expense Transportation Ses ae Related Expense
Consulting Expense Food/Beverage Expense Travel in District Contributions/Donations
Event Expense Polling Expense Travel Out Of District cancidatetOfnesholienP ont Committee
Fees Printing Expense Office Overhead/Rental Expense OTHER (enter a category not listed above}
The Instruction Guipe explains how to complete this form.
1 PAGE # 2 FILER NAME 3 ACCOUNT # (TEC filers)
Schedule: 1/1 Report: 3/3 Citizens to Keep Pasadena Strong 00111111
4 Date 5 Payee name
06/28/2013 Bank of Houston
6 Amount ($} 7 Payee address City; State; Zip Code
15, PO Box 572257
P1Se00 Houston, TX 77257
fa} Category (See Categories listed at (he top of this schedule) (b) Description {it travel outside of Texas, complete Schedule T) [|
PUR ROSE Accounting/Banking Bank fee
EXPENDITURE
9 Complete ONLY if Candidate / Officeholder name Office sought: Office hald:
direct expenditure
to benefil COH
Electronic Filing Version 3.4.5

PASADENA010521
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 38 of 44

Texas Ethics Commission P.0O.Box 12070 Austin, Texas 78711-2070 (512}463-5800 TDD 1-800-735-2089
SPECIFIC-PURPOSE COMMITTEE Form SPAC
CAMPAIGN FINANCE REPORT COVER SHEET PG 1

ACCOUNT ~

The SPAC INSTRUCTION GUIDE explains how to 1 {Ethics Peneebe filers) 2 Feehe
Bompiete: thie torn: 00111141 10f5
3 COMMITTEE NAME OFFICE USE ONLY

Citizens to Keep Pasadena Strong

Date Received

4 COMMITTEE ADDRESS / PO BOX; APT / SUITE #, city, STATE; ZIPCODE

ADDRESS

4808 Fairmont Parkwa
CJ Change of Address #405 aime 2 y Cate Hand-del d or Date Posimarked

Pasadena, TX 77505

8 CAMPAIGN MSIMRS 7 MR FIRST mi Receipl # ‘Amount
TREASURER Jerad
NAME Pee eh eee eae ee he rae re hr a re aah hr eh eh er heh uate Processed
NICKNAME LAST SUFFIX
Najvar Dats imaged
6 CAMPAIGN STREET ADDRESS (NOPOBOXPLEASE; APTISUITE#: cry: STATE: ZIP CODE
TREASURER'S

STREET ADDRESS | One Greenway Plaza
(Residence or business) Suite 100
Houston, TX 77046

7 CAMPAIGN STREET OR FO BOX: APT / SUITE #, CITY; STATE: 2IP CODE
TREASURER'S
MAILING ADDRESS | One Greenway Plaza
Suite 100

[7] Change of Address | Houston, TX 77046

8 CAMPAIGN AREA CODE PHONE NUMBER EXTENSION
TREASURER
PHONE (281) 404-4696
9 REPORT TYPE [[] January 15 (1) 20m aay before election [LJ Exceedes $500 sent
[[} suty 15 [2X] 8th day defore eiection [__] Dissolution (attach PAC-DR)
Runoff
Cc Gj ttn day after campaign
10 PERIOD COVERED Month Cry Year Month Oay Year
03/25/2013 THROUGH 05/01/2013
141 ELECTION ELECTION DATE ELECTION TYPE
Month Day Year
05/11/2013 [_] Primary [] Ronott [8 Generat LC] Specie
GO TO PAGE 2
Elecironte Filing Version 3.4.5

PASADENA010525
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 39 of 44

Taxas Ethics Commission P.O. Box 12070 Austin, Texas 78711-2070 (512)463-5800 TDD 1-800-735-2989
SPECIFIC-PURPOSE COMMITTEE REPORT: Form SPAC
PURPOSE & TOTALS Cover SHEET pc 2
12 COMMITTEE Citizens to Keep Pasadena Strong ACCOUNT # (Ethics Commission filers)

NAME 00111111
PURPOSE DON HARRISON
(Attach fists on plain
paper to complete this. q OFFICE SOUGHT (candidate) / OFFICE HELD {officenolder)
OFFICEHOLDER
reper! ILnecessany} PASADENA CITY COUNCIL DIST C
Cisurrort BALLOT IDENTIFICATION /# ELECTION DATE
(Candidate or Measure) Month Day Year
Hi oprose
(Candidate or Measure)
DESCRIPTION
(assist Disceoe
{Officeholder only}
44 CONTRIBUTION 1, TOTAL POLITICAL CONTRIBUTIONS OF $50 OR LESS (OTHER THAN
TOTALS PLEDGES, LOANS, OR GUARANTEES OF LOANS), UNLESS ITEMIZED $ 0.00
2. TOTAL POLITICAL CONTRIBUTIONS
(OTHER THAN PLEDGES, LOANS, OR GUARANTEES OF LOANS) $ 23,000.00
EXPENDITURE 3. TOTAL POLITICAL EXPENDITURES OF $100 OR LESS. UNLESS ITEMIZED
TOTALS $ 0.00
4. TOTAL POLITICAL EXPENDITURES $ 30,500.00
SON BUTION 8. TOTAL POLITICAL CONTRIBUTIONS MAINTAINED AS GF THE LAST DAY
OF THE REPORTING PERIOD $ 0.00
"OUTSTANDING © 6. TOTAL PRINCIPAL AMOUNT OF ALL OUTSTANDING LOANS AS OF THE
LOAN TOTALS LAST DAY OF THE REPORTING PERIOD $ 0.00
15 AFFIDAVIT
| swear, or affirm, under penalty of perjury. that the accompanying report
is true and correct and includes all information required to be reported by
me under Title 15, Election Code.
7” WY COMM. EXP 11/208 ye! CM
Signatyfe of Campaign Treasurer
AFFIX NOTARY STAMP / SEAL ABOVE sf
at iis . ft
Swom to and subscribed before me, by the sald jer ad N OO . this the 3 day
Signature of officer a Fministering oath Print name of officer b dministering oath

Electronic Filing Version 3.4.5

PASADENA010526
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 40 of 44

Texas Ethics Commission P.O.Box 42070 Austin, Texas 78711-2070 (512}463-5800 TOD 1-800-735-2989
POLITICAL CONTRIBUTIONS SCHEDULE A
OTHER THAN PLEDGES OR LOANS
The instRucTION Guipe explains how to complete this form. 1 PAGE #

Schedule: 1/1 Report: 3/5
2 FILERNAME Citizens to Keep Pasadena Strong 3 ACCOUNT# (Ethics Commission filers)
00111414
4 Date 5 Fullname of contributor [] out-of-state PAC (ID¥ ) 7 Amountof | 8 — In-kind contribution
Johnny (sbell Campaign Account cone GS); “dascietion (fpepkcable)
Safa SS TAIT SST ALS STADE Te TEE Sl ane Saf SETS |
04/06/2013 | 6 Contributor address; City, State; Zip Code $23,000.60 |
PO Box 177
Pasadena, TX 77501 |
(If travel outside of Texas, complete Schedule T) oO

9 Principal occupation / Job title (See Instructions) 40 Employer (See Instructions)

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PASADENA010527
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 41 of 44

Texas Ethics Commission P.O.Box 12070

Austin, Texas 78711-2070 (512)}463-5800 TDD 1-800-735-2989
PLEDGED CONTRIBUTIONS SCHEDULE B
The WeTRUcToN Guice explains how to complete this form. 1 PAGE #
Schedule: 1/1 Report: 4/5
2 FILERNAME Citizens to Keep Pasadena Strong 3 ACCOUNT# (Ethics Commission filers}
00111111
4 TOTAL OF UNITEMIZED PLEDGES: ¢ © &+ &@ & $
5 Date 6 Full name of pledgor £1 out-of-state PAC (ID# ) 8 Amountof |9 In-kind description
Johnny Isbell Campaign Account pledge ($) | (if applicable)
Be ae 8 ee ane 2d ce oe a mw Bi ee ewe gS BE OG SE We See ace we |
04/09/2013 | 7 Pladgor address: City; State; Zip Code $7,500.00
PO Box 177 |
Pasadena, TX 77501 1
(if travel outside of Texas, compiete Schadute T} ([]
10 Principal occupation / Job litle (See Instructions}

11 Employar (See instructions}

Electronic Filing Version 3.4.5

PASADENA010528
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 42 of 44

Texas Ethics Commission P.O.80x 12070 Austin, Texas 78711-2070 (512}463-5800 TDD 1-800-735-2989
POLITICAL EXPENDITURES SCHEDULE F
EXPENDITURE CATEGORIES
Advertising Expense Gifts/Awarde/Memorial Expense Salarias/W Contract Labor Loan RepaymentReimbursament
Accounting/Banking Legal Services Soficta: undraising Expense Transportation Equipment & Related Expense
Consulting Expense Food/Beverage Expense Travel in District Contributions/Donations Made By
Event Expense Polling Expense Travel Out Of District Candidate/Officehoider/Political Committea
Fees Printing Expense Offica Overhead/Rental Expense OTHER (enter a category not listed above)
The Instrucnon Guioe explains how to complete this form.
1 PAGES 2 FILER NAME 3 ACCOUNT# {TEC filers)
Schedule: 1/1 Report: 5/5 Citizens to Keep Pasadena Strong 00111111
4 Date § Payee name
04/06/2013 Najvar Law Firm
& Amount (5) 7 Payee addrass City; State; Zip Code
3,000. One Greenway Plaza
$ oe Suite 100
Houston, TX 77046
{a) Category (See Calegories listed at tha top of this schedule) (b) Description (If travel outside of Texas, complete Schedule T) [|
PU ee Legal Services Compliance
EXPENDITURE
9 Completes ONLY If Candidate / Officeholder name Office sought: Office held:
direct expenditure
to benefit C/OH
Date Payee name
04/09/2013 Neumann & Company
Amount ($} Payee address Clty; State: Zip Code
27,500.00] 1002 Pauline
$ Bellaire, TX 77401
Catagory (See Categories listed at the top of this schedule} Description (If ravel outsie of Texas, complote Schedule T) [_]|
PUREE Advertising Expense Political advertising direct mail opposing Don
EXPENDITURE Harrison for Council District C
Complete ONLY if Candidate / Officeholder name Office sought: Office held:
direct expenditure
to benefit C/OH

Blectronic Filing Version 3.4.5

PASADENA010529
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 43 of 44

Texas Ethics Commission P.O. Box 12070 Austin, Texas 78711-2070 (512) 463-5800 (TOD 1-800-735-2989)
AMENDMENT: APPOINTMENT OF A CAMPAIGN FoRM ASTA
TREASURER BY ASPECIFIC-PURPOSE COMMITTEE PG 1

4° Total fled: =
See ASTA instruction Guide for detailed instructions. = OFFICE USE ONLY
2 COMMITTEE NAME 3 ACCOUNT# Date Recewed
CITIZENS TO KEEP PASADENA STRONG
4 COMMITTEE LNeEw |
NAME
5 COMMITTEE [NEw | ADORESS (POBOX; = APT/SUTTE®, CITY: STATE: ZIPCODE T tas tiang-dulvered or Posmnercoa
ADDRESS 4808 FAIRMONT PARKWAY #165
PASADENA, TX 77505
Date Processed
6 CAMPAIGN NEW i MS / MRS / MR FiRST Mi Daje imaged
TREASURER
NAME
NICKNAME , , LAST ‘ 7" . SUFFIX
+ CAMPAIGN NEW | STREET ADORESS (NOPOBOX PLEASE}, APT/SUITE® CITY, STATE: ZIP CODE
TREASURER
STREET
ADDRESS
(residence or business}
& CAMPAIGN NEW ADDRESS / PO BOX: APT / SUITE #, city: STATE: ZIP CODE
TREASURER
MAILING
ADDRESS
o same 83 above
9 CAMPAIGN NEW | AREA CODE PHONE NUMBER EXTENSION
TREASURER
PHONE ( )

10 PERSON FIRST hal LAST SUFFIX

ee eeeuRtR JERAD NAJVAR

11 SIGNATURE i understand that | have been appointed as the campaign treasurer for this specific-purpose

committee and that | am responsible for filing all required reports and that | may be subject to
fines for failure to do so. | am aware of the restrictions in title 15 of the Election Code on

contributions from corporations and labor we ns. ea, Y
4

i’ Signature of Campaign Treasury

12 ASSISTANT NEw | FIRST Ml LAST SUFFIX
CAMPAIGN
TREASURER
(see instructions)

13 ASSISTANT NEW ADDRESS / PO BOX; APT {SUITE # CITY; STATE: 2iP CODE

CAMPAIGN
TREASURER
ADDRESS

14 ASSISTANT NEW | AREA CODE PHONE NUMBER EXTENSION
CAMPAIGN
TREASURER ( )
PHONE

GOTO PAGE 2
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PASADENA010532
Case 4:14-cv-03241 Document 43-1 Filed on 01/04/16 in TXSD Page 44 of 44

Texas Ethics Commission P.O. Box 12070 Austin, Texas 78711-2070 (512) 463-5800 (TDD 1-800-735-2989}

AMENDMENT: SPECIFIC-PURPOSE COMMITTEE
PURPOSE AND MODIFIED REPORTING DECLARATION

FORM ASTA
PG 2

15 COMMITTEE NAME

C trAttins +b Keep Pasa Noe Spare,

16 ACCOUNT#

47) COMMITTEE CANDIDATE / OFFICEHOLDER MAME
PURPOSE

(chew = [avo

[_|surrort CANDIDATE =| OFFICE SQUGHT (candidato} f OF FICE HELD (officehotder}
[_]orrose CANCIDATE

[assist OFFICEHOLDER

BALLOT IDENTIFICATION OF MEASURE J #

(new [__]aoo

[_]surrort measure

en Ony Y Year

ELECTION DATE

MODIFIED REPORTING.

pre-election reports and, if necessary, a runoff report.

which declaration applies

GESCRIFTION
C_lorrose MEASURE
18 MODIFIED LNEw |
REPORTING
DECLARATION COMPLETE THIS SECTION ONLY IF YOU ARE CHOOSING

*This declaration must be filed no later than the 30th day
before the first election to which the dectaration applies. +=

The modified reporting declaration is valid for one election cycle only. +
(An election cycle inctudes a primary election, general election, and any related runoffs.)

The committee does not intend to accept more than $500 in political
contributions or make more than $500 in political expenditures (exclud-
ing filing fees} in connection with any future election within the elaction
cycle. The committee understands that if either one of those limits is
exceeded, the committee's campaign treasurer will be required to file

Year of lection(s} or elaction cycle to Signature of Campaign Treasurer

ATTACH ADDITIONAL COPIES OF THIS FORM AS NEEDED

This appointment Is effective on the date it is filed with the appropriate filing authority.

www.ethics.state.tx.us

Revised 09/01/2006

PASADENA010533
